
683 S.E.2d 216 (2009)
STATE of North Carolina
v.
Maurice Rashad MILLER.
No. 261P09.
Supreme Court of North Carolina.
August 27, 2009.
Constance E. Widenhouse, Assistant Appellate Defender, for Maurice Rashad Miller.
Joan M. Cunningham, Assistant Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 676 S.E.2d 546.

ORDER
Upon consideration of the petition filed on the 23rd of June 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th of August 2009."
